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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 YELENA RUDERMAN,
                                                                  Case No. 19-cv-2987 (RJD) (RLM)
                              Plaintiff,
                - against -

 LAW OFFICE OF YURIY PRAKHIN, P.C., and                            JOINT STIPULATION REGARDING
 YURIY PRAKHIN, in both his individual and                              BRIEFING SCHEDULE
 professional capacities,

                              Defendants.



        Pursuant to Rule 56 of the Federal Rules of Civil Procedure, and Local Civil Rule 6.1, it

 is stipulated between and among Plaintiff Yelena Ruderman (“Plaintiff”) and Defendants Law

 Office of Yuriy Prakhin, P.C., and Yuriy Prakhin, Esq. (collectively, “Defendants”),

 (collectively, the “Parties”) by and through their respective counsel, as follows:

        WHEREAS, on March 15, 2021, Defendants moved for a pre-motion conference

 regarding their motion for summary judgment pursuant to Judge Dearie’s Individual Motion

 Practices and Rules;

        WHEREAS, on April 20, 2021, the Court waived the pre-motion conference;

         NOW, THEREFORE, IT IS HEREBY STIPULATED by and between the Parties,

 through their respective counsel and subject to the Court’s approval, that:


    1) Defendants shall file and serve any Motion for Summary Judgment by May 11, 2021.

    2) Plaintiff shall file and serve any Response by June 23, 2021.

    3) Defendants shall file and serve any Reply by July 7, 2021.
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 IT IS SO STIPULATED.



 Dated: New York, New York              Dated: New York, New York
        May 4, 2021                            May 4, 2021


       /s/ IMH                          ___________________________
                                                /s/ MED
 Innessa M. Huot                        Mary Ellen Donnelly
 Alex J. Hartzband                      Nicole E. Price
 FARUQI & FARUQI, LLP                   BOND, SCHOENECK & KING PLLC
 685 Third Avenue, 26th Floor           600 Third Avenue, 22nd Floor
 New York, New York 10017               New York, New York 10016
 (212) 983-9330                         (646) 253-2300

 Attorneys for Plaintiff                Attorneys for Defendants




 SO ORDERED:




          s/RJD
 ______________________
 Hon. Raymond J. Dearie
 U.S.D.J.
